                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


UNITED STATES ex rel.
KURT KROENING,

                     Plaintiffs,

       v.                                                  Case No. 12-CV-366

FOREST PHARMACEUTICALS, INC. and
FOREST LABORATORIES, INC.,

                     Defendants.


                           NOTICE REGARDING ECF NOTICES


       PLEASE TAKE NOTICE that Stacy C. Gerber Ward will no longer be employed by the

United States Department of Justice United States Attorney’s Office and therefore should no

longer receive ECF notices regarding the above captioned case. As the record reflects, Attorney

Susan M. Knepel has filed a Notice of Appearances on behalf of the United States of America.

       Dated this 15th day of February, 2017.

                                                          GREGORY J. HAANSTAD
                                                          United States Attorney

                                                   By:    /s/ Stacy C. Gerber Ward

                                                          STACY C. GERBER WARD
                                                          Assistant United States Attorney
                                                          Eastern District of Wisconsin
                                                          517 E. Wisconsin Ave.
                                                          Milwaukee, WI 53202
                                                          State Bar No. 1022067
                                                          (414) 297-1700
                                                          Facsimile: (414) 297-4394
                                                          stacy.g.ward@usdoj.gov




         Case 2:12-cv-00366-WED Filed 02/15/17 Page 1 of 1 Document 94
